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                       Exhibit 5
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  1                     UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK
  2   - - - - - - - - - - - - - - - X
                                        :
  3                                     : 22-MD-03044(NGG)
          In Re: Exactech               :
  4       Polyethylene Orthopedic       :
          Products Liability            :
  5       Litigation                    : United States Courthouse
                                        : Brooklyn, New York
  6                                     :
                                        :
  7                                     : May 19, 2023
                                        : 11:00 a.m.
  8                                     :
                                        :
  9   - - - - - - - - - - - - - - - X

 10           TRANSCRIPT OF CIVIL CAUSE FOR STATUS CONFERENCE
                 BEFORE THE HONORABLE NICHOLAS G. GARAUFIS
 11                     UNITED STATES DISTRICT JUDGE

 12
                             A P P E A R A N C E S:
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                             Denise Parisi, RPR, CRR
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  1                                      A P P E A R A N C E S:                     (Continued.)

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 15   P r o c e e d i n g s r e c o r d ed b y c o m p u t e r i z e d s t e n o g r a p h y.   Transcript
      p r o d u c e d b y C o m p u t e r- a i d e d T r a n s c r i p t i o n.
 16

 17
                                         *        *        *        *        *
 18

 19                    (In open court.)

 20                    THE COURTROOM DEPUTY:                    This is an MDL matter.

 21                    Beginning with the plaintiffs, please state your

 22   appearances for the record.

 23                    MS. RELKIN:             Good morning, Your Honor.

 24                    Ellen Relkin from Weitz & Luxenberg for the

 25   plaintiffs.


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  1              THE COURT:    Good morning.        Nice to see you again.

  2              MR. POPE:    Good morning, Your Honor.

  3              Kirk Pope for plaintiffs.

  4              THE COURT:    Good morning.

  5              MS. KESSLER:     Good morning, Your Honor.

  6              Rayna Kessler on behalf of plaintiffs MDL liaison

  7   counsel.

  8              THE COURT:    Good morning.

  9              MR. HARMAN:    Good morning, Your Honor.

 10              David Harman with Burg Simpson on behalf of

 11   plaintiffs.

 12              THE COURT:    Good morning.

 13              Is that it for the plaintiffs?

 14              MR. CHALOS:    Mark Chalos, Your Honor, for plaintiffs

 15   as well.

 16              THE COURT:    All right.      Good morning, sir.

 17              For the defendants, TPG, et cetera?

 18              I think you are on mute, Mr. Lefkowitz.             There you

 19   go.

 20              MR. LEFKOWITZ:     My apologies.

 21              Jay Lefkowitz on behalf of the TPG defendants.

 22              THE COURT:    Good morning.

 23              MS. COTTRELL:     Good morning, Your Honor.

 24              Christa Cottrell also on behalf of the TPG

 25   defendants.


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  1              THE COURT:    Good morning.

  2              MS. COTTRELL:     Good morning.

  3              MS. SHARKO:    And Susan Sharko for the Exactech

  4   defendants.

  5              THE COURT:    Good morning.

  6              All right, is that everyone?          Okay.

  7              I just had a question for Mr. Lefkowitz as we start.

  8              In your letter requesting this pre-motion

  9   conference, you indicate that you're located in New York City

 10   and that there are other lawyers who are at 300 North LaSalle,

 11   but it doesn't say where 300 North LaSalle is.

 12              MR. LEFKOWITZ:     Sure.      Thank you, Your Honor.       It's

 13   our Chicago office.     We have offices in New York and in

 14   Chicago.

 15              THE COURT:    I see.

 16              MR. LEFKOWITZ:     My partner, Ms. Cottrell is, I

 17   think, dialing in from Chicago, and I'm here in Manhattan.

 18              THE COURT:    Yes, she's on the video.           I was just

 19   curious because if -- for no other reason that I actually read

 20   these letters.

 21              MR. LEFKOWITZ:     Thank you, Your Honor.

 22              THE COURT:    All right.

 23              Well, then, let's move ahead.

 24              This is a request to make a motion to dismiss

 25   certain defendants from the case, so let me hear from you,


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  1   Mr. Lefkowitz about this, why we should do this even though

  2   we're in the middle -- or beginning of discovery, and whether

  3   discovery is really needed before this motion should be heard.

  4              MR. LEFKOWITZ:    Sure.      Thank you, Your Honor.       And I

  5   will be very brief here.

  6              The Delaware court, the Chancery Court, in a

  7   decision last year by Chancellor McCormick made very clear --

  8   and the case is Verdantus Advisors vs. Parker

  9   Infrastructure -- and I will just give the cite -- I think

 10   we're on the record, so I will give you the cite -- 2020

 11   WestLaw 5951368.   That was a case where the chancellor made

 12   very clear that there is an enormously high bar to pleading

 13   successfully the factors necessary for veil piercing.              And, in

 14   fact, the courts have a five-factor test, and it's not

 15   sufficient to just plead one, or even two of the factors.               In

 16   that case, in fact, there was an allegation that the company

 17   was, in fact, inadequately capitalized.             There was an

 18   allegation that there were funds that were siphoned out of the

 19   company and that the company observed few, if any, of the

 20   corporate formalities.    Those are three of the factors.            And

 21   even in that case, where all three of those factors were, in

 22   fact, pled, the Court said it's not sufficient because I don't

 23   see allegations that the company is functioning simply as a

 24   facade for the dominant shareholder; that this is essentially

 25   a vehicle for fraud.


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  1                And in our case, Your Honor, we don't even have

  2   allegations that -- in any of those five factors.             What we do

  3   have are allegations of TPG having control over Exactech, or

  4   over an agreement, but of course, as the Delaware Chancery

  5   Court said in Skouras vs. Admiralty, which is at 386 A.2d 674

  6   at page 681, quote:    Even total ownership of one corporation

  7   by another is not sufficient to warrant the disregard of a

  8   separate corporate entity.

  9                And, likewise, we have allegations that there's

 10   direct involvement in the operation and management of Exactech

 11   and that's in the complaint, to be sure, but just recently --

 12   well, actually, not quite so recently, but in the Eastern

 13   District in Ross Products Division vs. Saper at 2007 WestLaw

 14   1288125, dismissed a veil piercing claim even though the

 15   plaintiff's allegation was that the defendant was directly

 16   involved in the operation and management of the -- another

 17   corporate entity.

 18                And, finally, we also have allegations in the

 19   complaint that the officers are identical, the directors are

 20   identical.    Actually, they don't allege that all of them, just

 21   that there's overlapping.      But, in fact, the cases made

 22   clear -- and this is a Delaware Chancery decision from 2020,

 23   Nieves vs. Insight Building, 2020 WestLaw 4463425, that even

 24   if all of the officers and directors were identical, that

 25   would not be enough to state a claim.


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  1                The fact is, Your Honor, that the kinds of

  2   allegations that you need to get past a motion to dismiss --

  3   and I will give just one example where the Delaware Chancery

  4   Court did deny a motion to dismiss -- that is Manichaean Cap

  5   vs. Exela Techs Incorporated --

  6                THE COURT:    Can you spell that for the court

  7   reporter?

  8                MR. LEFKOWITZ:     Yes.    M-A-N-I-C-H-A-E-A-N,

  9   Manichaean Cap vs. Exela, E-X-E-L-A, Techs, T-E-C-H-S,

 10   Incorporated, and that's at 251 A.3d 694, and the relevant

 11   page in that case is 708.         That's a case where the Delaware

 12   Chancery Court did, in fact, deny a motion to dismiss, because

 13   it found that the plaintiff had pled a combination of

 14   insolvency intentional under capitalization and a lack of

 15   corporate formalities coupled with valid claims of fraud and

 16   injustice.

 17                We just don't have any of those types of allegations

 18   here.   What we have is allegations that Exactech, which is a

 19   fully functioning company that was purchased with $700 million

 20   of infused capital, is simply a subsidiary, or an affiliate of

 21   a larger private equity firm, and that has simply not been and

 22   never been sufficient for veil piercing.

 23                So we would like the opportunity, Your Honor, to

 24   file an appropriate motion.         We think the motion obviously has

 25   good grounds and is well-founded, and we would like the


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  1   opportunity to file the motion.

  2              Now, if I may, I can go into your second part of the

  3   question, because it relates to this issue of, is it premature

  4   or not, or should we have discovery, and I'm happy to just

  5   flow into that and just take a minute or two.

  6              THE COURT:    Take a minute or two and then I will

  7   turn to the plaintiff.

  8              MR. LEFKOWITZ:     Sure.

  9              The courts both in the Eastern and the Southern

 10   District of New York looking at these issues have made clear

 11   that it's perfectly appropriate to consider a motion to

 12   dismiss veil piercing just based on the pleadings itself.

 13              Now, often what happens is the defendant is moving

 14   both to dismiss on corporate veil, but also to dismiss on lack

 15   of personal jurisdiction.       And in that situation, when courts

 16   take those motions together, they often say, well, maybe we

 17   should have some jurisdictional discovery because we always

 18   put a thumb on the scale in favor of jurisdictional discovery

 19   if there's a good faith basis to tee that up.               Just to be

 20   clear, we are not seeking to get out of the case on

 21   jurisdictional grounds; we're not saying we're not subject to

 22   the jurisdiction here.

 23              And, in fact, earlier this week, literally just a

 24   couple days ago, Magistrate Judge Aaron, in the Southern

 25   District of New York, denied a veil piercing request for veil


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   1   piercing discovery precisely because the plaintiff did not --

   2   and I quote -- "have a viable well piercing theory that was

   3   pled."   That's Wilson & Wilson 2023 WestLaw 3449163.

   4                And I just want to make one final point.

   5                We hear it a lot in the opposition letter to a case

   6   called Blockchain, and that was a case where what was argued

   7   was, well, the Court allowed discovery to proceed based on

   8   alter ego.    But if you read the case carefully, what you

   9   realize is, alter ego is being used there in two different

  10   context:   One, for purposes of the personal jurisdiction

  11   motion to dismiss, and, in fact, the judge did in that case

  12   allow some jurisdictional discovery to take place.             But at the

  13   same time, critically, even in that case, the Blockchain case,

  14   which plaintiffs rely on, where the Court allowed limited

  15   pre-motion to dismiss discovery, it was limited to the

  16   jurisdictional issues and it excluded the discovery tailored

  17   only to the veil piercing claim, which is what we have here.

  18   You can't quite find it just by reading the opinion, but if

  19   you actually look at the docket, which I did, and you pull up

  20   the document requests and then you compare what the judge did

  21   in that case in terms of which discovery he allowed and which

  22   discovery he disallowed, it's absolutely clear that he denied

  23   request for information about shared services, about transfer

  24   of assets, about finance of the subsidiary, selection of the

  25   subsidiaries' executives, and involvement of the parent in the


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   1   subsidiary operations generally.

   2              So I would submit, Your Honor, that even the

   3   Blockchain case, which the plaintiffs are relying on here,

   4   actually supports our request entirely.

   5              And so, Your Honor, the last thing I would just say

   6   from the equities perspective is, Exactech has received

   7   discovery requests, and of course discovery is proceeding

   8   against Exactech, they're not going to be asking for a stay of

   9   discovery pending our motion to dismiss, and I have matched up

  10   several of the RFPs that are being submitted to us, and they

  11   are entirely duplicative -- at least six of the RFPs to us --

  12   things like all the due diligence documents related to the

  13   merger, all the documents related to the purchase price, all

  14   the minutes between Exactech and TPG entities, all the

  15   partnership agreements of all the TPG entities.             Those are all

  16   part of the Exactech discovery that Exactech is going to be

  17   producing in this case.

  18              So I would submit, Your Honor, that given that they

  19   have not pled any of the five specific elements necessary for

  20   veil piercing, that both -- that we be permitted to file a

  21   motion to dismiss, which we are happy to do expeditiously, and

  22   that discovery against TPG be stayed until that motion is

  23   decided.

  24              THE COURT:     All right.

  25              Thank you.


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   1             Ms. Relkin or Mr. Pope?         Who would like to speak?

   2             MR. CHALOS:     Me, Your Honor.       Mark Chalos, if that's

   3   okay.

   4             THE COURT:     Mr. Chalos, sorry about that.

   5             MR. CHALOS:     Certainly.

   6             So I guess it's a good thing we are not in the

   7   Delaware Chancery Court here.       The cases that Mr. Lefkowitz

   8   mentioned I don't think really have much relevance here, at

   9   least with respect to the pleading itself.           We are under

  10   Rule 8; a short and plain statement of the claim showing the

  11   pleader's entitled to relief is what we need to do at this

  12   point, but let me back up and try to address the bigger

  13   picture issue.

  14             Does it make sense to do this motion now?             And we've

  15   had some discussions with the defendant, and -- defendants,

  16   and they say this is a Rule 12(b)(6) motion, it is going to

  17   solely test the sufficiency of our allegations here, and if

  18   that's true, then that's one set of -- that's one set of

  19   circumstances.

  20             But these issues -- these alter egos issues, and we

  21   also have a successor liability claim here -- they are

  22   inevitably very fact-intensive, and where we find ourselves at

  23   this point is we are limited in what we have access to.              We

  24   have access to public records, because at one time there were

  25   a couple entities that were publicly traded here, so we have


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   1   some of their publicly filed documents, but really the core of

   2   what we need to establish our claim at trial is information

   3   they have but are refusing to give to us.

   4             So what we're left with is seeing the smoke here

   5   without having access to the fire.

   6             Judge, your camera went off.

   7             Does that mean he's gone?

   8             THE COURT:     He's here.

   9             MR. CHALOS:     Okay.    I just wanted to make sure you

  10   didn't get disconnected.

  11             THE COURT:     No.   I heard every word.        Go ahead.

  12             MR. CHALOS:     So to the extent their motion is, well,

  13   they didn't plead this element, they didn't plead that

  14   element, you know, that's one set of circumstances -- what

  15   they're going to say is, well, you don't have enough facts

  16   here; you haven't pleaded a fulsome set of facts that will get

  17   you to a jury necessarily -- then we think that would be an

  18   unfair motion at this point.       That's a motion that should be

  19   made after we've gotten the discovery that we're going to need

  20   to prove our claims.

  21             We, in our view, have met the Rule 8 standard.

  22   We've pleaded adequately causes of action against these

  23   various alterego and successor liability defendants, and if

  24   that's the motion they're going to file, then so be it.              If

  25   the motion they're going to file is fact-intensive, we may be


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   1   right back here.

   2             Now, let me say a word about discovery.

   3             We've asked for discovery, we've asked for

   4   documents, and they've refused to give us the documents.             They

   5   just filed, I think yesterday afternoon, a motion to stay

   6   discovery, I'm sure in anticipation of the discussion today.

   7             We have -- it is true we've asked for this

   8   information from Exactech as well.        Exactech filed an answer

   9   to our master complaint and it's docket, I think 204, and with

  10   respect to a lot of these core issues -- Exactech doesn't deny

  11   the substance of most of our allegations regarding TPG and the

  12   interrelationship and the control and the flow of power and

  13   money through the organizations, but they do say they don't

  14   have information about a lot of the core issues that go to

  15   both the veil piercing and the successor liability, and they

  16   respond in a pleading where they list our allegations and they

  17   list their answers, so Your Honor can see that they say they

  18   don't have the information.

  19             So I'm not expecting that we're going to get a lot

  20   of the core information from Exactech.         I think much of this,

  21   if not all of it, is in the possession of the TPG entities in

  22   terms of the flow of money, the flow of control, the

  23   overlapping in the relationship of the entities.           So to the

  24   extent that we can get some of this information from Exactech,

  25   that might be true, but I think for most of it, that's


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   1   probably not going to prove to be the case.

   2             So to sum it up, Your Honor, if what they're filing

   3   is a true 12(b)(6) motion -- we're not considering materials

   4   outside the pleadings; they're not attaching declarations;

   5   they're not contesting our facts; they're not saying, well,

   6   you need to consider these other facts, Judge; and if you look

   7   at all these other facts outside of the pleadings, then you

   8   will see that their pleadings are insufficient -- if it's not

   9   that motion, if it's just a straight 12(b)(6) on the

  10   allegations, then I think we can deal with that.

  11             Let me make one last point about the Delaware law.

  12   That touches on a bigger issue, which is they are presenting

  13   this as a clean shot where they can come to Your Honor and

  14   make a motion and then all the TPG entities, again, that are

  15   out of this, I think it's going to be a little more

  16   complicated than that.

  17             Among other things the question of choice of law is

  18   going to be complicated.    I think it's in this Circuit based

  19   on the GM ignition switch case and some cases cited within

  20   that, including the Anschutz Corp. vs. Merrill Lynch case from

  21   2012, Your Honor may have 0to engage in a fairly complex

  22   choice of law analysis here because we do have plaintiffs who

  23   have filed and transfer reports all around the country.             So it

  24   may not be that Delaware laws, they I guess seem to think,

  25   would apply necessarily to all of the claims.            So it may be a


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   1   little more complicated than, here's our motion, here's what

   2   the Delaware Chancery Court says, we're out of here and we're

   3   done.    I don't think it will be that simple.               So that may be a

   4   battle for another day, but I wanted to point that out to Your

   5   Honor.

   6                THE COURT:     All right.

   7                MR. LEFKOWITZ:     Your Honor, may I have just about a

   8   minute?

   9                THE COURT:     Yes, sure, a minute.

  10                MR. LEFKOWITZ:     Sure.      Perfect.

  11                First of all, on the Delaware point, I just want to

  12   make clear that Florida and Delaware law are going to apply --

  13   most states, frankly, other than about eight states in the

  14   country -- apply the Delaware standard, which would be

  15   appropriate since Delaware and Florida are the same standard

  16   as well.   The other eight states in the country simply apply

  17   blackletter hornbook law on veil piercing.              I don't think

  18   there's going to be an issue there.

  19                Number two, they say they don't have access to

  20   records.   I actually think they've gotten quite a bit already

  21   in the Florida litigation because they pled in this complaint

  22   that there were seven different drafts of the merger

  23   agreement.    That's certainly not publicly available.

  24                But the most important thing I just want to close

  25   with, Your Honor, is the Southern District of New York in a


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   1   case called Sabol vs. Bayer Healthcare -- this is at 439 F.

   2   Supp 3d, 131 at page 146 -- granted a motion to dismiss with

   3   respect to veil piercing because it said that, quote:             An

   4   allegation relying on a veil piercing theory is -- sorry, the

   5   plaintiffs have said just what we've heard here, that an

   6   allegation relying on veil piercing unsuited for resolution on

   7   a pre-answer pre-discovery motion to dismiss, and the Southern

   8   District court granted the motion and said:           Why?   Because the

   9   defendant -- the allegations about the defendant's parent

  10   company were simply conclusory allegations.           That is exactly

  11   what we have here.

  12             Even listening to counsel right now, he doesn't make

  13   allegations that hit any of the five factors at all.             Simply

  14   stated, there's no coherent theory of veil piercing here.

  15   It's purely conclusory, and since we don't have well-pled

  16   facts, at the very least, Your Honor, we would like the

  17   opportunity, prior to the initiation of any discovery against

  18   TPG, recognizing that a lot of the documents they're asking

  19   for from TPG are actually going to come directly from

  20   Exactech, but we'd like the opportunity briefly to brief and

  21   then argue, or if the Court wants, to have it submitted on

  22   paper.

  23             THE COURT:     How much time would you need to make

  24   this motion of yours?

  25             MR. LEFKOWITZ:     Christa, I believe you've worked out


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   1   a schedule with the plaintiff, correct?

   2               MS. COTTRELL:     Yes.

   3               Good morning, Your Honor.            Christa Cottrell.     I

   4   believe we agreed on wit plaintiffs 21 days for opening

   5   brief --

   6               THE COURT:     Hold on.     I need dates, so just hold one

   7   minute.    That's the 9th of June.

   8               MS. COTTRELL:     I have the 9th of June, too.

   9               THE COURT:     Next.

  10               MS. COTTRELL:     And then this one is going to be

  11   tricky for us to calculate, but 35 days is what we talked

  12   about plaintiffs for their response.

  13               THE COURT:     9th of June to the -- let's make it the

  14   14th of July.   Let's round it off.

  15               MS. COTTRELL:     Okay.     That sounds good here.

  16               And we talked about 14 days for our reply.

  17               THE COURT:     That's the 28th of July.

  18               MS. COTTRELL:     Yes.

  19               THE COURT:     And if we need oral argument, we'll

  20   advise you.

  21               MR. LEFKOWITZ:     Thank you, Your Honor.

  22               THE COURT:     All right.      I'm going to refer your

  23   request for the stay to Judge Henry so you can argue that

  24   before her because I -- we've -- I think it's best since she's

  25   overseeing discovery for the Court that you make that


                                 Denise Parisi, RPR, CRR
                                   Official Court Reporter
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                                                                                                                    18


   1   application to her.

   2                     Anything further for today?

   3                     MR. LEFKOWITZ:               None from us, Your Honor.

   4                     THE COURT:            Anything else, Mr. Chalos?

   5                     MR. CHALOS:            No, Your Honor, not unless Mr. Pope or

   6   Ms. Relkin have anything else.

   7                     THE COURT:            Yes, anything else from you, Ms. Relkin?

   8                     MS. RELKIN:            No, Your Honor.

   9                     THE COURT:            Mr. Pope?

  10                     MR. POPE:           No, Your Honor.

  11                     THE COURT:            It was good to see you all down in

  12   Gainesville.             This was my first visit to Gainesville.                                  This

  13   case has afforded me the opportunity to travel.                                         If you have

  14   anything that I need to do in Paris or London, do let me know.

  15                     MR. LEFKOWITZ:               We'll do our best.                  We appreciate

  16   it.

  17                     THE COURT:            All right.           Have a good day.                Thank you.

  18                     (Matter concluded.)

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                                                  Denise Parisi, RPR, CRR
       I certify that the foregoing is a correct transcript from the record of proceedings in the above-entitled matter.
                                              /s/ Denise Parisi June 1, 2023
